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                          UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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 9 ACQUISITION MANAGEMENT,                 CASE No. 2:19-CV-06814 DSF
10 INC.,
                                               ORDER GRANTING STIPULATION
11                                             TO EXTEND TIME TO RESPOND
                   Plaintiff,                  TO INITIAL COMPLAINT BY NOT
12                                             MORE THAN 30 DAYS (L.R. 8-3)
13         v.                              Date of Service: 8/11/2019
                                           Current Response Due: 9/3/2019
14 RETREAVER, INC., and DOES 1-            New Response Deadline: 10/3/2019
15 5, inclusive,
16
                   Defendants.
17         The Court, having considered Plaintiff Acquisition Management, Inc.,
18 (“Plaintiff”) and Defendant Retreaver, Inc.’s (“Defendant”) Stipulation to Extend
19 Time within which Defendant must Respond to Plaintiff’s Complaint by thirty (30)
20 days, from September 3, 2019 to and including, October 3, 2019, pursuant to Local
21 Rule 8-3, and finding good cause therfor,
22         IT IS HEREBY ORDERED that the time within which Defendant must
23 Respond to Plaintiff’s Complaint is hereby extended by thirty (30) days, from
24 September 3, 2019 to and including, October 3, 2019, pursuant to Local Rule 8-3.
25         IT IS SO ORDERED.
26 DATED: August 28, 2019
27
                                          Honorable Dale S. Fischer
28                                        UNITED STATES DISTRICT JUDGE
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